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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS

   LEVIA MOULTRIE,              )
                                )
               Plaintiff,       )
                                )                       Case no. 3:11-cv-00500-DRH-PMF
                                )
   PENN ALUMINUM INTERNATIONAL, )
   LLC, and INTERNATIONAL       )
   BROTHERHOOD OF ELECTRICAL    )
   WORKERS, AFL-CIO, LOCAL 702, )
                                )
               Defendants.      )


                                 DISCLOSURE OF EXPERT AND
                                   CONSULTATION REPORT

          Pursuant to the modified Scheduling Order, Plaintiff, Levia Moultrie, by his undersigned

   attorney, files his Disclosure of Expert of Consultation Report, disclosing Robert T. Carter as his

   expert and submitting the Consultation Report, attached hereto as Exhibit A.

   Dated: August 10, 2012.

                                                                Jana Yocom, P.C.

                                                           By:_______________________________
                                                               Jana Yocom
                                                               Attorney for Plaintiff




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                                     CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 10th day of August, 2012 the foregoing
     document was served on each party entitled to be served using the electronic transmission:

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                                                     /s/ Jana Yocom

                                                     ________________________________
                                                     Jana Yocom
